

People v Clark (2019 NY Slip Op 08741)





People v Clark


2019 NY Slip Op 08741


Decided on December 5, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 5, 2019

110733

[*1]The People of the State of New York, Respondent,
vAllison Clark, Appellant.

Calendar Date: November 8, 2019

Before: Egan Jr., J.P., Lynch, Devine and Aarons, JJ.


G. Scott Walling, Slingerlands, for appellant.
J. Anthony Jordan, District Attorney, Fort Edward, for respondent.
Appeal from a judgment of the County Court of Washington County (McKeighan, J.), rendered September 7, 2018, convicting defendant upon her plea of guilty of the crime of criminal sale of a controlled substance in the third degree.
In satisfaction of a six-count indictment, defendant pleaded guilty to criminal sale of a controlled substance in the third degree and waived her right to appeal. Consistent with the terms of the plea agreement, County Court sentenced defendant to a prison term of three years to be followed by two years of postrelease supervision and imposed restitution. Defendant appeals.
Appellate counsel seeks to be relieved of his assignment of representing defendant on the ground that there are no nonfrivolous issues that may be raised on appeal. Upon our review of the record and counsel's brief, we agree. Therefore, the judgment is affirmed and counsel's request for leave to withdraw is granted (see People v Cruwys, 113 AD2d 979, 980 [1985], lv denied 67 NY2d 650 [1986]; see generally People v Beaty, 22 NY3d 490 [2014]; People v Stokes, 95 NY2d 633 [2001]).
Egan Jr., J.P., Lynch, Devine and Aarons, JJ., concur.
ORDERED that the judgment is affirmed, and application to be relieved of assignment granted.








